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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

  PLANNED PARENTHOOD OF                          )
  INDIANA AND KENTUCKY, INC.,                    )
                                                 )
               Plaintiff,                        )
                                                 )   Case No. 1:18-cv-01219-RLY-DLP
        v.                                       )
                                                 )
  COMMISSIONER, INDIANA STATE                    )
  DEPARTMENT OF HEALTH, in her                   )
  official capacity; PROSECUTORS                 )
  OF MARION, LAKE, MONROE, and                   )
  TIPPECANOE COUNTIES, INDIANA,                  )
  in their official capacities; THE              )
  MEDICAL LICENSING BOARD OF                     )
  INDIANA, in their official capacities,         )
                                                 )
               Defendants.                       )

             DEFENDANTS’ ANSWER TO COMPLAINT FOR
              DECLARATORY AND INJUNCTIVE RELIEF

       Defendants, the Commissioner of the Indiana State Department of Health

 and the Prosecutors of Marion, Lake, Monroe, and Tippecanoe Counties, and the

 Medical Licensing Board of Indiana (collectively, “the State”), by counsel, hereby file

 their answer to the Complaint for Declaratory and Injunctive Relief (“the

 Complaint”) filed in this action by Plaintiff Planned Parenthood of Indiana and

 Kentucky, Inc. (“PPINK”).

 Introduction

 1.    Recently enacted Indiana Senate Enrolled Act No. 340 ("Enrolled Act"), signed

 into law by the Governor of the State of Indiana on March 25, 2018, imposes a new

 requirement on, among others, Planned Parenthood of Indiana and Kentucky, Inc.


                                           [1]
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 (“PPINK”) and its physicians to report “all abortion complications.” This term is

 defined so vaguely that it is impossible to determine what is or is not covered, despite

 the fact that failure to properly comply with the statute may, after July 1, 2018, lead

 to licensing consequences, and will, in 2019, be a crime. This vagueness offends due

 process. Moreover, even if not vague       the definition   of “complication” includes

 matters that are not considered complications at all as well as complications that

 are not likely to occur at all after abortions, but are more likely for other medical

 procedures. Imposing these requirements only concerning abortion procedures,

 which have been proven to be extremely safe with few complications is irrational. All

 of this violates due process and equal protection.

       ANSWER: Indiana Senate Enrolled Act No. 340 speaks for itself.                The

       remaining allegations set forth legal conclusions that do not require an answer,

       but to the extent that an answer is required, Defendants deny the allegations

       set forth in paragraph 1 of the Complaint.

 2.    The Enrolled Act also imposes uniquely onerous inspection requirements

 attendant to the relicensing of abortion clinics but no similar requirements upon

 similar outpatient settings or hospitals. This violates equal protection.

       ANSWER: Indiana Senate Enrolled Act No. 340 speaks for itself.                The

       remaining allegations set forth legal conclusions that do not require an answer,

       but to the extent that an answer is required, Defendants deny the allegations

       set forth in paragraph 2 of the Complaint.




                                           [2]
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 3.    Appropriate injunctive and declaratory relief should issue against the

 unconstitutional portions of the Enrolled Act.

       ANSWER: The allegations set forth in paragraph 2 of the Complaint are legal

       conclusions that do not require an answer, but to the extent that an answer is

       required, Defendants deny the allegations set forth in paragraph 2 of the

       Complaint.

 Jurisdiction, venue, cause of action

 4.    This Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 1331, 1343.

       ANSWER: The State admits the allegations set forth in paragraph 4 of the

       Complaint.

 5.    Venue is proper in this district pursuant to 28 U.S.C. §1391.

       ANSWER: The State admits the allegations set forth in paragraph 5 of the

       Complaint.

 6.    Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2201 and by Rule 57

 of the Federal Rules of Civil Procedure.

       ANSWER: The State admits that 28 U.S.C. § 2201 and 2202 and Rule 57 of

       the Federal Rules of Civil Procedure authorize declaratory relief generally, but

       denies that such relief is appropriate in this case.

 7.    This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation,

 under color of state law, of rights secured by the Constitution of the United States.




                                            [3]
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       ANSWER: The State admits that Plaintiff seeks to bring this action under 42

       U.S.C. § 1983, but denies that Plaintiff is entitled to any relief under that

       statute.

 Parties

 8.    Planned Parenthood of Indiana and Kentucky, Inc., is a not-for-profit

 corporation with its principal place of business in Indiana. It brings this action on its

 own behalf, and on behalf of its patients and staff.

       ANSWER: The State is without knowledge or information sufficient to form a

       belief as to the truth of the allegations set forth in paragraph 8 of the

       Complaint.

 9.    The Commissioner of the Indiana State Department of Health is the duly

 appointed official in charge of that agency, which is responsible for licensing abortion

 clinics pursuant to Indiana law. She is sued in her official capacity and is designated

 by her official title pursuant to Fed. R. Civ. P. 17(d).

       ANSWER: The State admits the allegations set forth in paragraph 9 of the

       Complaint.


 10.   The Prosecutors of Marion, Lake, Monroe, and Tippecanoe Counties, Indiana,

 are the duly elected prosecutors of the counties in which Planned Parenthood of

 Indiana and Kentucky health centers that provide abortion services are located and

 the prosecutors are responsible for prosecuting crimes occurring in their respective

 counties. They are sued in their official capacities and are designated by their official

 title pursuant to Fed. R. Civ. P. 17(d).


                                             [4]
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          ANSWER: The State admits the allegations set forth in paragraph 10 of the

          Complaint.


 11.      The Individual Members of the Medical Licensing Board of Indiana comprise

 the body that licenses and disciplines physicians in Indiana. They are sued in their

 official capacities and are designated by their official title pursuant to Fed R. Civ. P.

 17(d).

          ANSWER: The State admits the allegations set forth in paragraph 11 of the

          Complaint.


 Legal background

 12.      The Enrolled Act creates a new statutory section that requires all hospitals,

 physicians, and licensed abortion clinics to report to the Indiana State Department

 of Health information concerning the treatment of any and all patients for “abortion

 complications.” Ind. Code § 16-34-2-4.7(b) (eff. July 1, 2018).

          ANSWER: The Enrolled Act speaks for itself.

 13.      The statute provides that:

          As used in this section, “abortion complication” means any adverse physical or
          psychological condition arising from the induction or performance of an
          abortion. The term includes the following:

                (1) Uterine perforation.
                (2) Cervical perforation.
                (3) Infection.
                (4) Hemorrhaging.
                (5) Blood clots.
                (6) Failure to terminate the pregnancy.
                (7) Incomplete abortion (retained tissue).
                (8) Pelvic inflammatory disease.
                (9) Missed ectopic pregnancy.

                                            [5]
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               (10) Cardiac arrest.
               (11) Respiratory arrest.
               (12) Renal failure.
               (13) Metabolic disorder.
               (14) Shock.
               (15) Embolism.
               (16)Coma.
               (17) Placenta previa in subsequent pregnancies.
               (18) Pre-term delivery in subsequent pregnancies.
               (19) Free fluid in the abdomen.
               (20) Hemolytic reaction due to the administration of ABO-incompatible
               blood or blood products.
               (21) Hypoglycemia occurring while the patient is being treated at the
               abortion facility.
               (22) Physical injury associated with treatment performed at the abortion
               facility.
               (23) Adverse reaction to anesthesia or other drugs.
               (24) Psychological or emotional complications, including depression,
               suicidal ideation, anxiety, and sleeping disorders.
               (25) Death.
               (26) Any other adverse event as defined by criteria provided in the Food
               and Drug Administration Safety Information and Adverse Event
               Reporting Program.

  Ind. Code§16-34-2-4.7(a) (eff. July 1, 2018).

        ANSWER: Indiana Code section 16-34-2-4.7(a) speaks for itself.

 14.    Although the statute is effective July 1, 2018, it also provides that before

 February 1, 2019, the Department of Health must inform the providers noted above

 of the new requirements concerning reporting of abortion complications. Ind. Code

 § 16-34-2-4.7(f).

        ANSWER: Indiana Code section 16-34-2-4.7(f) speaks for itself.

 15.    The “abortion complications” are to be provided to the Indiana State

 Department of Health on a form to be developed by the Department before February

 1, 2019. Ind. Code§ 16-34-2-4.7(c), (d) (eff. July 1, 2018).


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       ANSWER: Indiana Code sections 16-34-2-4.7(c) and (d) speak for themselves.

 16.   The statute provides that physicians, hospitals, and abortion clinics are

 required to submit this report. Ind. Code § 16-34-2-4.7(b).

       ANSWER: Indiana Code section 16-34-2-4.7(b) speaks for itself.

 17.   The report must include the following information:

               (1) The date the patient presented for treatment for the abortion
               complication.
               (2) The age of the patient.
               (3) The race of the patient.
               (4) The county and state of the patient's residence.
               (5) The type of abortion obtained by the patient.
               (6) The date of abortion obtained by the patient.
               (7) The name of the:
                       (A) abortion clinic;
                       (B) medical facility; or
                       (C) hospital; where the patient obtained the abortion.
               (8) Whether the patient obtained abortion medication via mail
               order or Internet web site, and if so, information identifying
               the source of the medication.
               (9) Whether the complication was previously managed by the
               abortion provider or the abortion provider's required back-up
               physician.
               (10) The name of the medications taken by the patient as part of
               the pharmaceutical abortion regimen, if any.
               (11) A list of each diagnosed complication.
               (12) A list of each treated complication, with a description of the
               treatment provided.
               (13) Whether the patient's visit to treat the complications was
               the original visit or a follow-up visit.
               (14) The date of each follow-up visit, if any.
               (15) A list of each complication diagnosed at a follow-up visit, if
               any. (16) A list of each complication treated at a follow-up visit,
               if any.

 Ind. Code§16-34-2-4.7(e) (eff. July 1, 2018).

       ANSWER: Indiana Code section 16-34-2-4.7(e) speaks for itself.



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 18.    Each year the Indiana State Department of Health must summarize the

 aggregate data collected and submit it to the United States Centers for Disease

 Control and Prevention for inclusion in its annual Vital Statistics Report. Ind. Code

 § 16-34-2-4.7(h) (eff. July 1, 2018).

        ANSWER: Indiana Code section 16-34-2-4.7(h) speaks for itself.

 19.    The statute provides that no identifying information of the women will be

 included in the report. Ind. Code§16-34-2-4.7(a) (eff. July 1, 2018).

        ANSWER: Indiana Code section 16-34-2-4.7(a) speaks for itself.

 20.    After August 31, 2019, the failure to report an abortion complication will be a

 Class B misdemeanor. Ind. Code §16-34-2-4.7(j) (eff. July 1, 2018).

        ANSWER: Indiana Code section 16-34-2-4.7(j) speaks for itself.

 21.    At the current time existing regulations of the Indiana State Department of

 Health require that hospitals, ambulatory outpatient surgical centers, and abortion

 clinics inform the Department of “reportable events.” 410 IAC 15-1.4-2.2 (hospitals);

 410 IAC 15-2.4-2.2 (ambulatory outpatient surgical         centers); 410 IAC 26-6-2

 (abortion clinics) These regulations are identical, except for the facilities to which

 they apply, and note as reportable events such things as: surgery performed on the

 wrong patient or body part; mistaken retention of foreign objects in a patient

 following surgery; patient death or serious disability associated with use of

 contaminated drugs, devices, biologics, medication error, falls, or burns.

        ANSWER: 410 Indiana Administrative Code sections 15-1.4-2.2, 15-2.4-2.2,

        and 26-6-2 speak for themselves.



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 22.   Indiana law provides that a “license to operate a hospital, an ambulatory

 outpatient surgical center, an abortion clinic, or a birthing center” is applied for and

 renewed annually and may be renewed “annually upon payment of a renewal fee.”

 Ind. Code § 16-21-2-14(1), (5).

       ANSWER: Indiana Code sections 16-21-2-14(1) and (5) speak for themselves.

 23.   At the current time Indiana State Department of Health may inspect an

 abortion clinic each year, and conduct a complaint investigation at any time. Ind.

 Code § 16-21-2-2.6. Current regulations provide that the licensing survey shall occur

 at least once every two years. 410 IAC 26-3-2(a). The Enrolled Act changes this to

 specify that the Department “shall inspect an abortion clinic” at least once a year.

 Indiana Code § 16-21-2-2.6 (eff. July 1, 2018). There are no similar statutes requiring

 an annual inspection of hospitals and ambulatory outpatient surgical centers.

       ANSWER: Indiana Code section 16-21-2-2.6 and 410 Indiana Administrative

       Code section 26-3-2(a) speak for themselves.

 24    An abortion clinic may lose or be denied a license for violating any provisions

 of Indiana Code 16-21 or if it permits, aids, or abets the commission of any illegal

 acts in the clinic; engages in conduct or practices found to be detrimental to its

 patients; or if the application submitted or supporting documentation provides

 inaccurate information. 410 IAC 26-2-5(3), (6), (7).

       ANSWER: 410 Indiana Administrative Code sections 26-2-5(3), (6), and (7)

       speak for themselves.




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  25.    Under Indiana law the Indiana Medical Licensing Board regulates physicians,

  Indiana Code § 25-22.5-2-7; 844 IAC 5-2-1, and has the power to discipline any

  physician who, among other things, “knowingly violate[s] any state statute or rule,

  or federal statute or regulation, regulating the profession in question,” Indiana Code

  § 25-1-9-4(3).

         ANSWER: Indiana Code sections 25-22.5-2-7 and section 25-1-9-4(3) and 844

         Indiana Administrative Code section 5-2-1 speak for themselves.

  26.    A physician with an Indiana license who commits a crime that has a direct

  bearing on the physician's ability to practice competently or is harmful to the public

  or who knowingly violates any state law or rule regulating the medical profession is

  subject to discipline from the Indiana Medical Licensing Board. Ind. Code § 25-1-9-

  4(a)(2), (3).

         ANSWER: Indiana Code sections 25-1-9-4(a)(2) and (3) speak for themselves.

  Factual allegations

         General facts

  27.    PPINK operates numerous health clinics in Indiana where thousands of

  women, men, and teens are able to receive reproductive health care services and

  comprehensive sexuality education.

         ANSWER: The State is without knowledge or information sufficient to form

         a belief as to the truth of the allegations set forth in paragraph 27 of the

         Complaint.




                                           [10]
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  28.   PPINK operates three health centers in Indiana, located in Bloomington,

  Merrillville, and Indianapolis, which offer both surgical abortion services and

  abortions using medications alone (known as “medication abortions”).

        ANSWER: The State admits the allegations set forth in paragraph 28 of the

        Complaint.

  29.   Additionally, PPINK operates a health center in Lafayette, Indiana, which

  provides only medication abortions.

        ANSWER: The State admits the allegations set forth in paragraph 29 of the

        Complaint.

  30.   At PPINK, surgical abortions are available through the first trimester of

  pregnancy, 13 weeks and 6 days after the first day of a woman's last menstrual

  period, as determined by ultrasound.

        ANSWER: The State is without knowledge or information sufficient to form

        a belief as to the truth of the allegations set forth in paragraph 30 of the

        Complaint.

  31.   Medication abortions are currently available through 70 days after the first

  day of a woman's last menstrual period as determined by ultrasound.

        ANSWER: The State is without knowledge or information sufficient to form

        a belief as to the truth of the allegations set forth in paragraph 31 of the

        Complaint.

  32.   PPINK both employs and contracts with physicians who provide abortion

  services.


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        ANSWER: The State is without knowledge or information sufficient to form a

        belief as to the truth of the allegations set forth in paragraph 32 of the

        Complaint.

  33.   Although PPINK is the largest provider of first trimester abortions in Indiana,

  only a small percentage of its patients receive abortion services, with the bulk of its

  patients receiving other health services.

        ANSWER: The State is without knowledge or information sufficient to form a

        belief as to the truth of the allegations set forth in paragraph 33 of the

        Complaint.

        The new inspection and licensing requirements

  34.   PPINK is required to apply each year to the Indiana State Department of

  Health for renewal of its license to operate each of its existing health centers

  providing abortion services.

        ANSWER: The State admits the allegations set forth in paragraph 34 of the

        Complaint.

  35.   Until 2018, PPINK's health centers providing abortion services were inspected

  every other year by the Indiana State Department of Health. In 2018 the health

  centers were inspected 13 or 14 months after the prior inspection.

        ANSWER: The State admits the allegations set forth in paragraph 35 of the

        Complaint.




                                              [12]
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  36.   These inspections are staff intensive. They take at least two full days and

  require the presence of PPINK's vice-president of patient services, regional director,

  quality/risk manager, and director of clinical services.

        ANSWER: The State is without knowledge or information sufficient to form

        a belief as to the truth of the allegations set forth in paragraph 36 of the

        Complaint.

  37.   On information and belief, after July 1, 2018, the effective date of Indiana

  Code § 16-21-2-2.6, abortion clinics will be required to be inspected annually while

  no similar statutory requirement will be imposed on hospitals and ambulatory

  outpatient surgical centers.

        ANSWER: Indiana Code section 16-34-2-2.6 speaks for itself.

        Abortion complications

  38.   Although the criminal penalties for failing to report abortion complications

  are not effective until August 31, 2019, the law itself is effective on July 1, 2018, and

  PPINK will therefore have to begin collecting the necessary information and begin

  to prepare to file reports when required.

        ANSWER: The State admits the allegations set forth in paragraph 38 of the

        Complaint.

  39.   Although the statute requires that PPINK report all “abortion complications,”

  the definition of that term, “any adverse physical or psychological condition arising

  from the induction or performance of an abortion,” Ind. Code § 16-34-2-4.7(a), is so




                                              [13]
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  broad as to be meaningless and provides no guidance to PPINK and its health

  providers. The term is vague and uncertain.

         ANSWER: The allegations set forth in paragraph 39 of the Complaint are

         legal conclusions that do not require an answer, but to the extent that an

         answer is required, Defendants deny the allegations set forth in paragraph 39

         of the Complaint.

  40.    The vagueness is compounded by the fact that some of the items on the list are

  not complications of abortion at all. Moreover, the listing of examples of complications

  cite many medical conditions which are both extremely rare for abortions and are

  more likely to occur after other medical procedures. And at least one of the “abortion

  complications,” e.g., “blood clots,” is a typical, transient, and potential side effects of

  abortions. See, e.g., Indiana State Department of Health, Abortion Informed Consent

  Brochure,     http:jjwww.in.gov/isdhffiles/Abortion_Informed_Consent_Brochure.pdf

  (last visited on March 29, 2018) (noting that after a surgical abortion “[y]ou may have

  cramping and bleeding after the procedure” and “[y]ou may pass a few blood clots and

  experience heavy bleeding for a few days” [at 7], and that in a medication abortion

  one of the drugs used cause “cramps, heavy bleeding, and expulsion of the embryo”

  [at 8]).

         ANSWER: The State denies the allegations set forth in paragraph 40 of the

         Complaint because they are vague and ambiguous.

  41.    Despite the fact that abortions have been repeatedly recognized as safe

  with minimal adverse side effects, on information and belief, there are no other



                                             [14]
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  Indiana laws or regulations that impose comparable reporting requirements on

  physicians and health care facilities following procedures other than abortions, even

  though there is a much greater chance that many of the potential complications listed

  will occur with procedures other than abortions.

        ANSWER: The State denies the allegations set forth in paragraph 41 of the

        Complaint because they are vague and ambiguous.

  42.   Although the Enrolled Act provides that the data collected will be submitted

  to the United States Centers for Disease Control and Prevention for its inclusion in

  the annual Vital Statistics Report, there is no requirement imposed by the federal

  government or federal law or regulation that such information be submitted and the

  Centers for Disease Control has requested only information on maternal age,

  gestation age, race, ethnicity, method type of abortion, marital status, number of

  previous live births, number of previous abortions, state of residence, and abortion

  mortality. Centers for Disease Control and Prevention, Abortion Surveillance-United

  States, 2014 https://www.cdc.gov/mmwr/volumes/66/ss/ss6624a1.htm (last visited

  Apr. 18, 2018).

        ANSWER: The State denies the allegations set forth in paragraph 42 of the

        Complaint because they are vague and ambiguous.

        Concluding allegations

  43.   PPINK is committed to advocating for its patients' rights to obtain abortion

  services as constitutionally protected and to protect their rights to privacy.




                                            [15]
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        ANSWER: The State is without knowledge or information sufficient to form a

        belief as to the truth of the allegations set forth in paragraph 43 of the

        Complaint.

  44.   At all times defendants will act under color of state law.

        ANSWER: The State admits that at all times relevant to this matter

        Defendants have acted under color of state law but otherwise denies the

        allegations set forth in paragraph 44 of the Complaint because they are vague

        and ambiguous.

  45.   The actions of the defendants will cause PPINK, its patients, and staff

  irreparable harm for which there is no adequate remedy at law.

        ANSWER: The State denies the allegations set forth in paragraph 45 of the

        Complaint.

  Legal claims

  46.   The new inspection provision of the Enrolled Act, Indiana Code § 16-21-2-2.6

  (eff. July 1, 2018)), impose an annual inspection requirement on abortion clinics,

  including PPINK, even though similar requirements are not imposed on other

  medical facilities that are engaging in far riskier procedures. This is irrational and

  arbitrary and violates the Equal Protection Clause of the Fourteenth Amendment.

        ANSWER: The State denies the allegations set forth in paragraph 46 of the

        Complaint.

  47.   Indiana Code § 16-34-2-4.7 (eff. July 1, 2018), requiring the identification and

  reporting of “abortion complications,” establishes vague and uncertain standards and



                                           [16]
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  is otherwise irrational and arbitrary in violation of the Due Process Clause of the

  Fourteenth Amendment.

        ANSWER: The State denies the allegations set forth in paragraph 47 of the

        Complaint.

  48.   Indiana Code § 16-34-2-4.7 (eff. July 1, 2018), requiring the identification and

  reporting of “abortion complications” imposes unique and burdensome obligations

  concerning abortions, while ignoring other medical procedures that are far more

  likely to cause complications It is irrational and discriminatory in violation of both

  the Due Process and the Equal Protection Clauses of the Fourteenth Amendment.

        ANSWER: The State denies the allegations set forth in paragraph 48 of the

        Complaint.

        WHEREFORE, Planned Parenthood of Indiana and Kentucky, Inc., requests

  that this Court:

        a.     Accept jurisdiction of this case and set it for hearing at the earliest

        opportunity.

        b.     Enter a declaratory judgment that the above provisions of the Enrolled

        Act are unconstitutional for the reasons noted above.

        c.     Enter a preliminary injunction, later to be made permanent, enjoining,

        Indiana Code§§16-21-2-2.6 and 16-34-2-4.7(a) (eff. July 1, 2018).

        d.     Award plaintiff its reasonable costs and attorneys' fees pursuant to 42

        U.S.C. § 1988.

        e.     Award all other proper relief.



                                           [17]
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        ANSWER: The State denies any factual allegations set forth in paragraphs a

        through e of the Plaintiff’s “Request for relief” and denies that Plaintiff is

        entitled to any of the relief requested therein.

                             AFFIRMATIVE DEFENSES

        1.     One or more claims asserted by Plaintiff fail to state a claim upon which

  relief can be granted.

        2.     Plaintiff’s rights, privileges, and immunities secured under the

  Constitution or laws of the United States have not been violated by any alleged action,

  inaction, or omission of Defendants, and Defendants, at all times, acted in compliance

  and consistent with the Constitution and laws of the United States and the State of

  Indiana.

        3.     Indiana Code section 16-21-2-2.6 is not irrational and arbitrary in

  violation of the Equal Protection Clause of the Fourteenth Amendment and is not

  unconstitutional.

        4.     Indiana Code section 16-34-2-4.7 does not establish vague and uncertain

  standards and is not otherwise irrational and arbitrary in violation of the Due Process

  Clause of the Fourteenth Amendment, is not irrational and discriminatory in

  violation of the Due Process Clause and Equal Protection Clause of the Fourteenth

  Amendment, and is not unconstitutional.




                                           [18]
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                                     Respectfully submitted,

                                     CURTIS T. HILL, Jr.
                                     Indiana Attorney General

                                 By: /s/ Thomas M. Fisher
                                     Thomas M. Fisher
                                     Solicitor General

                                     Julia C. Payne
                                     Deputy Attorney General

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                                      [19]
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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 29, 2018, a copy of the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system, which sent notification

  of such filing to the following:

                Kenneth J. Falk                    Jan P. Mensz
                ACLU OF INDIANA                    ACLU OF INDIANA
                kfalk@aclu-in.org                  jmensz@aclu-in.org

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                                           /s/ Thomas M. Fisher
                                           Thomas M. Fisher
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